FTW LAW GROUP

601 SOUTH FIGUEROA STREET, SUITE 1950

Los ANGELES, CALIFORNIA 90017
(213) 335-3960

Case 2:20-cv-07467-ODW-AFM Document 70 Filed 10/28/21 Page1of5 Page ID #:408

So A ND WN FBP WY YPO He

YN NY YH NY NY NY YN YN NO eee Re ee eo a
“ao NN ON FW YN FF ODO DH HIT DWN KR WD HBO HF OC

FELIX T. WOO (CA SBN 208107)
fwoo@ftwlawgroup.com

FTW LAW GROUP

601 South Figueroa Street, Suite 1950
Los Angeles, California 90017
Telephone: (213) 335-3960
Facsimile: (213) 344-4498

for Plaintiff

Attorne

SHANGHAI XUANNI TECHNOLOGY CO., LTD.

UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

SHANGHAI XUANNI
TECHNOLOGY CO., LTD., a Chinese
company,

Plaintiff,
vs.

CITY POCKET LOS ANGELES, INC,
a California corporation, MORAD
MATIAN, a/k/a MORAD MATYAN,
an individual, NER PRECIOUS
METALS INC., a California
corporation, PEDRAM SHAMEKH, an
individual, B&F FEDELINI INC., a
California corporation, and FARHAD
SADIAN, a FRED SADIAN, an
individual,

Defendants.

Case No. 2:20-cv-07467-AFM

DECLARATION OF HUA JUN IN
SUPPORT OF PLAINTIFF’S
DAMAGES PROVE UP IN
SUPPORT OF DEFAULT
JUDGMENT

Los ANGELES, CALIFORNIA 90017
(213) 335-3960

FTW LAW GROUP
601 SOUTH FIGUEROA STREET, Suite 1950

Case 2:20-cv-07467-ODW-AFM Document 70 Filed 10/28/21 Page 2o0f5 Page ID #:409

Oo Oo sa DB Wn FP WW NY Ff

NO po NO HN WN WN NN DN DN Re me Ree BR; RB RR
Oo HD Wn BP WO NO KF& DOD BO DW aT DB A BP WW NY KF OC

I, Hua Jun, declares as follows:

1. I make this declaration on my own personal knowledge and, if called
and sworn as a witness, I could and would testify competently hereto.

2. I am an authorized agent for Plaintiff Shanghai Xuanni Technology
Co., Ltd. (“SXT”) in connection with its exports and sales to outside parties in the
United States. I make this declaration in support of the Court’s request for SXT to
prove up its damages following the Court’s entry of default against the defendants
in this case.

3. Plaintiff SXT is a trading company that sells raw fabric and textile
goods to companies abroad and in the United States.

4. In July 2019, SXT received purchase orders from City Pocket Los
Angeles, Inc. (“City Pocket”), NER Precious Metals Inc. (“NER”) and B&F
Fedelini Inc. (“B&F”) with request to purchase knitted fabrics.

5. SXT’s practice upon receipt of a purchase order was to generate a
proforma invoice that estimated the amount of goods that would be shipped and the
price based on the unit cost of the fabric and the estimated weight. The actual
amount for the goods would be based on the actual weight that was packed and
shipped. Around this time, SXT requested each of the companies’ owners to send
corporate information about their respective entities’ history to satisfy SXT that
they were legitimate businesses and could be trusted. Each of the companies’
principals that are personally named in this lawsuit responded and provided
information on their respective companies and vouched for their company’s
legitimacy. Moreover, SXT requested each company to pay a deposit.

6. The goods that each company ordered were shipped and received by
the companies without rejection, and at the time, the companies signed inspection
certificates regarding their receipt of the goods. None of the companies indicated to

SXT that they would not be paying for the goods as the invoices came due.

.

FTW LAW GROUP
601 SOUTH FIGUEROA STREET, SUITE 1950
Los ANGELES, CALIFORNIA 90017

Case 2:20-cv-07467-ODW-AFM Document 70 Filed 10/28/21 Page 3of5 Page ID #:410

1 7. Attached as Exhibit A is a chart I created for this case to show the
2 || totals due from each of these companies after accounting for their deposits. I
3 || reviewed a variety of underlying documentation in verifying these sums, and I
4 || discovered some very minor variations between these sums and the sums demanded
5 || in the lawsuit that SXT filed, and so I correct those amounts here.
6 8. In some instances, SXT was not able to locate all the commercial
7 || invoices that were sent to the buyers, but I was able to verify the amounts due using
8 || the proforma invoice we sent the buyer upon receipt of their purchase orders (which
9 || estimate to round numbers the weight of the fabric and the price) against the
10 || shipping records we maintained (which state the actual weight of the goods packed
11 || for shipment). In other instances I was also able to verify these weight totals
g 12 | against delivery records we received from the companies that offloaded the
: 13 || containers at the port and delivered them to the buyers.
q 14 9. For B&F I located the invoices that SXT issued and sent to B&F for
15 || the total sum due, which I attach as Exhibit B. On August 21, 2019, SXT shipped
16 || to B&F goods totaling $229,942.47. B&F paid a deposit of $45,988.50, leaving an
17 || unpaid balance of $183,953.97 due as of November 21, 2019.
18 10. For NER, I reviewed delivery order documents (Exhibit C-1), signed
19 || inspection reports wherein NER verified receipt of certain shipments of fabric
20 || (Exhibit C-2), various deposit invoices (where SXT issued an invoice for the 10%
21 || deposit that NET was required to pay up front) (Exhibit C-3), certain final invoices
22 || (showing the total due, including the deposit) (Exhibit C-4) and finally, the packing
23 || lists (Exhibit C-5) that SXT used to prepare each shipping container, which details
24 || the type of fabric shipped and the weight, which along with the price per unit, also
25 || allows me to calculate the total amount due per container. Based on my review of
26 || these records, and confirmation from these sources, from August 14, 2019 through
27 || September 4, 2019, SXT shipped goods to NER totaling $1,168,630.13. NER paid
28 || a deposit of $118,824.01, leaving an unpaid balance of $1,049,806.12 due as of

FTW LAW GROUP

601 SOUTH FIGUEROA STREET, Suite 1950

Los ANGELES, CALIFORNIA 90017
(213) 335-3960

Case 2:20-cv-07467-ODW-AFM Document 70 Filed 10/28/21 Page 4of5 Page ID #:411

So me ITD WB OH HR WO NO

mo NYO NO NY WN WN NY NY NO RR Re Re He Se Se ee
Oo INH A BPW NO KF DCD OO Hn DB nN BW NBO KF CO

December 4, 2019.

11. For City Pocket, I reviewed delivery order documents (Exhibit D-1),
signed inspection reports wherein City Pocket verified receipt of fabric (Exhibit D-
2), and various deposit invoices (where SXT issued an invoice for the 15% deposit
that City Pocket was required to pay) (Exhibit D-3) as well as certain final invoices
(showing the total due, including the deposit) (Exhibit D-4). Based on my review
of these records, and confirmation from these sources, from September 23, 2019
through October 7, 2019 SXT shipped to City Pocket goods totaling $1,049,764.44.
City Pocket paid a deposit of $157,103.78, which leaves an unpaid balance of
$892,660.66 due as of January 7, 2020 (for the convenience of the Court, and based
on SXT’s practice of allowing customers 90 days to make payments, I have made
the sums due as of 90 days following the last shipment date for purposes of
calculating interest).

12. Iam informed that SXT is entitled to prejudgment interest at the rate
of 10%. SXT has calculated interest based on the invoices issued as follows:

a. City Pocket’s past payments due for $892,660.66 due is calculated as
of January 7, 2020 and to this date (September 15, 2021), is $150,893.52 in interest
(based on the rate of $244.56 per day multiplied by 617 days).

b. | NER’s past payments due of $1,049,806.12 is calculated as of
December 4, 2019 and to this date (September 15, 2021) is $187,240.62 in interest
(based on the rate of $287.62 per day multiplied by 651 days).

c. B&F’s past payments due of $183,451.29 is calculated as of
November 21, 2019 and to this date (September 15, 2021) is $33,372.64 in interest
(based on the rate of $50.26 per day multiplied by 664 days).

13. Soon after each company received the goods it ordered, SXT followed
up with each company to ask about the payments for the goods, including many
requests that I personally made. Each of the buyer company’s principals either

ignored these inquiries or after weeks of delays would send emails to me and others

3. i

FTW LAW GROUP

601 SOUTH FIGUEROA STREET, Suite 1950

Case 2:20-cv-07467-ODW-AFM Document 70 Filed 10/28/21 Page5of5 Page ID #:412

Los ANGELES, CALIFORNIA 90017
(213) 335-3960

So Fe ND NH BR WW NO

YN NO NY NY NY WN WN WN NO KR HR He He Re Ree ee
oOo nN HD NH FP WD NY KFS CO OO Wn DB WH BR WO YNPO KH C

at SXT making vague excuses for failing to pay. These excuses ranged from
claiming the goods needed to be re-sold to customers (and that those downstream
customers were on 60-to-90 day payment terms) and promising to pay SXT when
those downstream customers who bought the goods had paid for the goods. Some
of the companies also claimed that governmental restrictions put in place here in
California during COVID-19 prohibited them from seeking payment from their
customers and thus, they could not secure funds to pay back SXT. I have since
learned from our counsel that these representation about COVID-19 restrictions
were false. An example of such a communication is attached as Exhibit E where
Morad Matian admitted he owed the sums to SXT but made up excuses for not
paying.

14. After extracting further payment delay from SXT through these
excuses, the companies’ principals continued to ignore SXT which is when we
retained U.S. legal counsel to address these defaults. Not once did these companies
or the owners, who were the parties who bought the goods and owed the money,
ever reach out to SXT on their own to provide updates on the payments.

15.  Jtis apparent to SXT from the buyer principals’ behavior that they did
not intend to pay for the goods when initially ordered, particularly given the
principals told us that they would only have the funds to pay us after they sold the
goods we shipped to them to others. The principals did not treat SXT in good faith
and in our view, defrauded SXT and made false promises about their ability to pay.

I declare under penalty of perjury under the laws of the United States of
America that the foregoing is true and correct. Executed on September Jf 2021,
in S hung Haw , The People’s Republic of China.

& 4

Hua Jun

